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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF GEORGIA
                                           ATLANTA DIVISION

             UNITED STATES OF AMERICA,

                    Plaintiff,


             v.                                             CRIMINAL CASE NO.
                                                            1:13-CR-092-WSD-LTW
             DONALD R. LAFOND, JR.,

                    Defendant.


                    MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

                   Pending before this Court is Defendant Donald R. Lafond, Jr.’s (“Defendant”)

             Motion to Suppress Statements. Docket Entry [23]. On July 1, 2013, this Court

             convened a suppression hearing on Defendant’s Motion to Suppress, Docket Entry [28],

             after which Defendant submitted a post-hearing brief in support of his motion, Docket

             Entry [30]. The Government filed a response in opposition to Defendant’s motion on

             September 6, 2013. Docket Entry [32]. Having considered Defendant’s motion, the

             parties’ briefs, and all supporting documents submitted, and for the reasons set forth

             below, this Court RECOMMENDS that Defendant’s Motion to Suppress be

             GRANTED IN PART AND DENIED IN PART. Docket Entry [23].

                                              BACKGROUND

                   On March 19, 2013, the Grand Jury entered a one-count indictment against




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             Defendant and Co-Defendant Jason Robert Widdison (“Widdison”). The indictment

             charged that Defendant and Co-Defendant Widdison, aided and abetted by each other,

             unlawfully killed Kenneth Mills (“Mills”), a fellow inmate, with malice aforethought

             in violation of 18 U.S.C. §§ 1111, 7(3), and 2. (Indictment, Docket Entry [1]).

             1.      Defendant Makes Statements to Officer Smith Subsequent To Fight in
                     Recreation Yard

                     Defendant is incarcerated at the United States Penitentiary in Atlanta, Georgia

             (“U.S.P. Atlanta”). On March 1, 2011, a physical altercation took place between

             Defendant, Widdison and fellow inmate Mills while on the recreation yard in the

             Segregation Housing Unit (“SHU”) of U.S.P. Atlanta. (Transcript of July 1, 2013

             hearing, (“Tr.”), Docket Entry [29], 7). As a result of injuries sustained from the

             altercation, Mills subsequently died. (Tr. 16).

                     Officer Batayias Smith (“Officer Smith”), a correctional officer in the SHU, was

             notified of the fight between prisoners when he heard fellow correctional officer Xavier

             Johnson (“Officer Johnson”) scream “fight” from the SHU recreational yard. (Tr. 5-6).

             Officer Smith immediately responded to Officer Johnson’s call and proceeded to the

             recreation yard to assist in cuffing the inmates that were fighting. (Tr. 7). Four to five

             officers came to the recreation yard in response to Officer Johnson’s call; Officer Smith

             was the first to respond. (Tr. 11). After both Defendant and Widdison were cuffed,

             Officer Smith and another correctional officer escorted Defendant back upstairs to his

             cell. (Tr. 8, 11). While being escorted to his cell, Defendant remained cuffed, as was


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             normal procedure in the SHU whenever there was movement of an inmate out of his

             cell. (Id.).

                     While escorting Defendant back to his cell, a process that took five to ten minutes,

             Officer Smith testified that he did not question or discuss anything with Defendant. (Tr.

             9). Officer Smith recalls that Defendant did not say much while being escorted back to

             his cell. (Tr. 10). Though Officer Smith did not initiate any conversation with the

             Defendant, according to Officer Smith, Defendant spontaneously told Officer Smith in

             more than one statement that Defendant’s intentions were to “fight or beat up the guy

             [Mills].” (Tr. 10-11, 13). Officer Smith also testified that Defendant never implied who

             committed the assault other than himself. (Tr. 10). According to Officer Smith,

             Defendant also stated that Mills “was talking trash and being disrespectful.” (Tr. 13).

             No one threatened Defendant to speak with Officer Smith. (Tr. 9).

             2.      Special Agent Szabo Questions Defendant Regarding the Incident in the
                     Recreation Yard as Part of His Investigation

                     On March 2, 2011, Special Agent Paul Szabo (“Agent Szabo”) and Special Agent

             Chad Fitzgerald (“Agent Fitzgerald”) who are employed with the Federal Bureau of

             Investigation (F.B.I.), went to U.S.P. Atlanta to investigate the fight between Defendant,

             Widdison and Mills. (Tr. 16-17). Agent Szabo was the case agent with primary

             investigatory duties for the matter once notified by Special Investigative Agent Gurson

             Rivera of the incident. (Tr. 17).

                     Agent Szabo interviewed Defendant in an office measuring approximately twenty


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             feet by twenty feet within the SHU located next to Bureau of Prisons Lieutenant Prentice

             Jackson’s (Lt. Jackson) office. (Tr. 18). Agent Szabo conducted the interview of

             Defendant while Agent Fitzgerald, Lt. Jackson, and Officer Smith were present. (Tr. 18-

             19). Agent Szabo was seated behind a desk in the office and Defendant was seated in

             front of the same desk. (Tr. 19). As was the policy in the SHU Unit, Defendant was in

             handcuffs for the entire interview since he was outside of his cell. (Tr. 20). Lt. Jackson

             and Agent Fitzgerald were also seated while Officer Smith stood against a wall in the

             office. (Tr. 19). Agent Szabo was not in possession of any weapons during his

             interview of Defendant. (Tr. 20).

                   Prior to questioning Defendant, Agent Szabo advised Defendant of his Miranda

             rights by both reading word for word from the F.B.I. Advice of Rights Form and holding

             the same form to allow Defendant to read it as well. (Tr. 20, 22; Ex. 1). Both Agent

             Szabo and Agent Fitzgerald signed the Advice of Rights Form attesting to the fact that

             Defendant was advised of his Miranda rights. (Tr. 21). Agent Szabo testified that

             Defendant appeared to understand his Miranda rights and did not indicate that he did not

             understand. (Tr. 22). Agent Szabo then asked Defendant if he was willing to speak to

             them about the altercation and, though Agent Szabo could not recall if Defendant said

             “no,” he did remember that Defendant was very stoic and nonchalantly shook his head

             from left to right. (Tr. 22-23, 28). In response, Agent Szabo replied “that’s fine given

             the circumstances of the incident that occurred, there’s not really a question as to what

             had happened. The only thing that I don’t know is the why.” (Tr. 23, 29). In response,

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             Defendant stated “Well, I can tell you that,” and made a brief statement similar to the

             statements made to Officer Smith. (Tr. 23).

                   Agent Szabo testified that Defendant was selective with his statements and

             indicated that he did not want to talk about the specifics of the incident or anyone else’s

             role in the incident. (Tr. 24-25). Defendant stated that he remembered Mills “being

             unconscious and having some blood.” (Id.). Defendant then stated that he had nothing

             more to say and the interview ended, having lasted one or two minutes. (Id.). During

             the interview, no one touched the Defendant other than to escort him to the office, no

             one threatened Defendant if he refused to speak, and no promises were made to

             Defendant if he agreed to make any statements during the interview. (Tr. 24-26).

             Additionally, no one raised their voices when speaking to Defendant, the interview was

             very calm, and Defendant was calm, polite, and cooperative. (Tr. 25-26).

                                              LEGAL ANALYSIS

                   Defendant made two series of statements regarding the fight that took place in the

             recreation yard of the SHU on March 1, 2011. Defendant uttered statements to Officer

             Smith immediately after he was handcuffed and escorted back to his cell. Defendant

             also made statements to Agent Szabo when they met the next day as a part of the

             investigation of the assault on Mills. According to Defendant, all of his statements are

             inadmissible, either because they were allegedly made in the absence of the requisite

             Miranda warnings, or because Miranda warnings were read to him but disregarded.



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             1.      Defendant’s Statements to Officer Smith Were Voluntary and Did Not
                     Require Miranda Warnings

                     Defendant first contends that statements made to Officer Smith should be

             suppressed because the statements were made in a custodial situation without the

             protections of Miranda. The Government argues in response that Defendant voluntarily

             provided statements to Officer Smith while being escorted back to his cell, making the

             statements admissible. The Court agrees that the statements Defendant made to Officer

             Smith were voluntary.

                     Defendant’s statements to Officer Smith were unsolicited, spontaneous statements

             not entitled to Miranda warnings.       The Fifth Amendment of the United States

             Constitution prohibits the use of an involuntary confession against a defendant in a

             federal criminal trial. U.S. Const. amend. V; Dickerson v. United States, 530 U.S. 428,

             433 (2000). In Miranda v. Arizona, 384 U.S. 436 (1966), the Supreme Court recognized

             the need to further safeguard the privilege against self-incrimination by requiring that

             Miranda warnings, or other fully effective means, be given to subjects of custodial

             interrogations. Miranda, 384 U.S. at 478-79; see also Dickerson, 530 U.S. at 442-43

             (rejecting Congress’s attempt through 18 U.S.C. § 3501 to reinstate the totality test as

             sufficient). The “Miranda safeguards come into play whenever a person in custody is

             subjected to either express questioning or its functional equivalent.” Rhode Island v.

             Innis, 446 U.S. 291, 300-01 (1980). The “functional equivalent” of express questioning

             occurs when officers use “any words or actions . . . (other than those normally attendant


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             to arrest and custody) that the police should know are reasonably likely to elicit an

             incriminating response from the suspect.” Id. at 301. By contrast, “‘[v]oluntary and

             spontaneous comments by an accused . . . are admissible evidence if the comments were

             not made in response to government questioning.’” United States v. Sanders, 315 F.

             App’x 819, 823 (11th Cir. 2009) (quoting Cannady v. Dugger, 931 F.2d 752, 754 (11th

             Cir. 1991)); see also Miranda, 384 U.S. at 478 (“Volunteered statements of any kind are

             not barred by the Fifth Amendment . . . .”).

                   The evidence presented shows that Defendant’s statements were made voluntarily

             without any prompting from any officer. Officer Smith provided credible testimony that

             even though Defendant did not say much, Defendant spontaneously told Officer Smith

             that his intentions were to “fight or beat up the guy [Mills].” (Tr. 10-11, 13). Defendant

             continued his unprovoked comments when he stated to Officer Smith that “Mills was

             talking trash and being disrespectful.” (Tr. 13). After Officer Smith handcuffed

             Defendant, neither Officer Smith nor any other correctional officer asked Defendant any

             questions to prompt his statements, spoke to Defendant, or asked any questions in

             response to Defendant’s statements. (Tr. 8-9). Additionally, Officer Smith did not

             threaten Defendant or physically touch Defendant, except to place him in cuffs and

             escort him back to his cell. (Tr. 7).

                   Taking these circumstances into account, the Court concludes that the statements

             Defendant uttered to Officer Smith, without any prompting from any officer, were

             spontaneous and not the result of interrogation or the functional equivalent of

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             interrogation. Consequently, these statements are admissible, even absent any Miranda

             warnings. See United States v. Jules, 244 F. App’x 964, 972 (11th Cir. 2007) (providing

             that “the absence of Miranda warnings would not preclude the admission of a

             spontaneous statement”); Cannady, 931 F.2d at 754 (“Voluntary and spontaneous

             comments by an accused, even after Miranda rights are asserted, are admissible evidence

             if the comments were not made in response to government questioning”); United States

             v. Glen-Archila, 677 F.2d 809, 814-15 (11th Cir. 1982) (upholding district court’s

             finding that spontaneous, volunteered statements were admissible despite absence of

             Miranda warnings); United States v. Savell, 546 F.2d 43, 45-46 (5th Cir. 1977)1

             (concluding that Miranda does not apply “where the statements were unsolicited,

             spontaneous and freely made prior to any attempted interrogation”). Accordingly, the

             undersigned RECOMMENDS that Defendant’s request to suppress his statements to

             Officer Smith be DENIED.

             2.      The Court Cannot Conclude that Defendant’s Right to Remain Silent
                     was Scrupulously Honored

                     Defendant also argues the statements he made to Agent Szabo should be

             suppressed because they were given subsequent to Defendant’s assertion of his Miranda

             rights, and Agent Szabo failed to “scrupulously honor” Defendant’s assertion of his

             rights. The Government argues in response that despite the fact that Defendant invoked


                     In Bonner v. City of Pritchard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en
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             banc), the Eleventh Circuit adopted as binding precedent, all decisions of the former
             Fifth Circuit handed down prior to October 1, 1981.
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             his right to remain silent, Defendant subsequently and voluntarily abandoned this right

             without any interrogation.

                   As previously stated, the “Miranda safeguards come into play whenever a person

             in custody2 is subjected to either express questioning or its functional equivalent.”

             Innis, 446 U.S. at 300-01; United States v. Acosta, 363 F.3d 1141, 1148 (11th Cir.

             2004); see also United States v. Grimes, 142 F.3d 1342, 1348-49 (11th Cir. 1998)

             (applying Miranda only if defendant was both (a) in custody and (b) being interrogated

             at the time the statements were made). The “functional equivalent” of express

             questioning occurs when officers use “any words or actions . . . (other than those

             normally attendant to arrest and custody) that the police should know are reasonably

             likely to elicit an incriminating response from the suspect.” Id. at 301.

                   Additionally, if a defendant indicates in any manner, at any time prior to or during

             questioning, that he wishes to remain silent, the interrogation must cease. Miranda, 384

             U.S. at 473-74 (explaining that “[w]ithout the right to cut off questioning, the setting of

             an in-custody interrogation operates on the individual to overcome free choice in

             producing a statement after the privilege has been once invoked”); Gore v. Sec’y for

             Dep’t of Corr., 492 F.3d 1273, 1296 (11th Cir. 2007) (“Under Miranda, therefore, all

             questioning must be immediately discontinued once a suspect indicates a desire to

             remain silent.”). The suspect does not have to “speak with the discrimination of an


                    The Government does not dispute that Defendant was in custody when he
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             made statements to Agent Szabo.
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             Oxford don” or use specific words to invoke his right to silence; he simply “must

             articulate his desire to end questioning with sufficient clarity so that a reasonable police

             officer would understand that statement to be an assertion of the right to remain silent.”

             Davis v. United States, 512 U.S. 452, 459 (1994); United States v. Racca, 255 F. App’x

             367, 370 (11th Cir. 2007); United States v. Mikell, 102 F.3d 470, 476 (11th Cir. 1996)

             In this case, the Government does not dispute that Defendant invoked his right to

             silence. Agent Szabo testified that after he read Defendant his rights and asked

             Defendant whether Defendant was willing to speak with him, Defendant not only shook

             his head from left to right, but also might have responded by saying “no.” (Tr. 23, 28).

             A reasonable law enforcement officer would understand that Defendant’s shaking his

             head no in response to the question of whether Defendant was willing to speak with

             Agent Szabo to be an assertion of the right to remain silent.

                    When the defendant makes statements after invoking the right to remain silent,

             statements made, in some cases, may be admissible if the law enforcement interrogator

             has scrupulously honored the defendant’s right to cut off questioning. United States v.

             Muhammad, 196 F. App’x 882, 885 (11th Cir. 2006). The question of whether a

             defendant’s right to cut off questioning was scrupulously honored is evaluated on a case

             by case basis. Jackson v. Dugger, 837 F.2d 1469, 1472 (11th Cir. 2006). The

             scrupulously honored standard, at a minimum, requires the government to refrain from

             questioning a suspect unless the suspect both (1) initiates further conversation; and (2)

             waives the previously asserted right to silence. Muhammad, 196 F. App’x at 885;

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             Jacobs v. Singletary, 952 F.2d 1282, 1293 (11th Cir. 1992). Impermissible interrogation

             includes both express questioning and words or actions by the police that the police

             should know are reasonably likely to elicit an incriminating response from the suspect.

             United States v. Ramsey, 992 F.2d 301, 305 (11th Cir. 1993); Christopher v. State of

             Fla., 824 F.2d 836, 846 (11th Cir. 1987). In Christopher v. State of Fla., 824 F.2d 836

             (11th Cir. 1987), the Eleventh Circuit has further expounded that after the defendant’s

             invocation of the right to silence, “[a]lthough the police may terminate an interrogation

             without falling into total silence, any discussion with the suspect other than that

             ‘relating to routine incidents of the custodial relationship’ must be considered a

             continuation of the interrogation.” Christopher, 824 F.2d at 845 (emphasis added). As

             explained by the Eleventh Circuit:

                   Specifically, the police may make routine inquiries of a suspect after he
                   requests that they terminate questioning such as whether he would like a
                   drink of water. They may not ask questions or make statements which open
                   up a more generalized discussion relating directly or indirectly to the
                   investigation,” as this constitutes interrogation.

             Christopher, 824 F.2d at 845, citing United States v. Johnson, 812 F.2d 1329, 1331

             (11th Cir. 1986); see also United States v. Thomas, 521 F. App’x 878, 882 (11th Cir.

             2013) (“This Court has stressed that once an accused requests counsel, the officer cannot

             ask questions, discuss the case, or present the accused with possible sentences or

             benefits of cooperation.”). In Christopher, after the defendant cut off questioning by

             stating that he had “nothing else to say,” the police officer conducting the interrogation

             continued to make statements to and ask questions of the defendant relating to the

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             subject matter of the investigation, such as the statement, “You were accused when you

             came in here. You knew what you were accused of, and I told you what your daughter

             was accused of, so don’t make out like you don’t know what you are accused of.” Id.

             at 842. Additionally, after the defendant invoked his right to silence again, the officer

             changed the subject to whether defendant wanted to waive his right to extradition

             proceedings. Id. at 843. The officer explained that if defendant did not waive

             extradition, it may take thirty to sixty days before defendant was extradited to another

             state. Id. at 843-44. During the discussion, the defendant asked what would happen to

             his daughter and after answering the defendant’s question, the officers changed the

             subject back to the defendant’s involvement in the murders. Id. at 843-44. The

             Eleventh Circuit concluded that the officers’ subsequent statements and questions

             represented a continuation of the interrogation and therefore the defendant’s subsequent

             statements were inadmissible. The Eleventh Circuit further concluded that the officer’s

             inquiries regarding the defendant’s extradition also related directly or indirectly to the

             investigation and were therefore an unlawful continuation of the interrogation. Id. at

             844.

                    Similarly, in United States v. Pena, 897 F.2d 1075, 1081-82 (11th Cir. 1990),

             abrogated on other grounds by Davis v. United States, 512 U.S. 452 (1994), the special

             agent read the defendant his Miranda rights and asked the defendant if he wished to

             cooperate. The defendant stated, “I want to. I really want to but, I can’t. They will kill

             my parents.” Id. at 1081-82. In response the agent informed the defendant that

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             marijuana had been recovered and the defendant replied, “I’ve made a big mistake.” Id.

             The Eleventh Circuit concluded that the defendant’s statements were “if not a clear

             invocation,” “at the very least an uncertain invocation of the fifth amendment right to

             remain silent.” Id. The Eleventh Circuit further concluded that the special agent’s

             comment elicited the defendant’s “exclamations of regret” and that the defendant’s

             assertion of the right to remain silent was not scrupulously honored. Id. The Eleventh

             Circuit further noted that “[t]his practice of permitting interrogators to apprise a suspect

             of the evidence against him as a prelude to asking him to reconsider his decision to

             remain silent has been brought into doubt by Rhode Island v. Innis, 446 U.S. 291, 301

             . . . (1980).” Id. at 1082 & n. 16.

                   Based on the aforementioned Eleventh Circuit precedents, this Court cannot

             conclude that Agent Szabo scrupulously honored Defendant’s right to remain silent.

             First, Agent Szabo’s continuation of the discussion about the investigation after

             Defendant invoked his right to remain silent constituted interrogation within the

             meaning of Miranda. As explained in Christopher, supra, “[a]lthough the police may

             terminate an interrogation without falling into total silence, any discussion with the

             suspect other than that ‘relating to routine incidents of the custodial relationship’ must

             be considered a continuation of the interrogation.” Christopher, 824 F.2d at 845

             (emphasis added). In this case, the Defendant unambiguously cut off questioning by

             shaking his head in response to Agent Szabo’s question as to whether he was willing to

             speak to them, however, Agent Szabo did not immediately cease discussion about the

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             investigation. Instead, Agent Szabo immediately continued the discussion about the

             subject of the interrogation, when he replied “that’s fine given the circumstances of the

             incident that occurred, there’s not really a question as to what had happened. The only

             thing that I don’t know is the why.” (Tr. 23, 29). Agent Szabo’s comment in this regard

             was interrogation as defined in Christopher, even though it technically might not be a

             question, because it related to the subject of the interrogation.

                   Additionally, Agent Szabo’s actions in this case are factually indistinguishable

             from the officers’ actions in Pena deemed a violation of the defendant’s Miranda rights

             whereby the officers advised the defendant there that marijuana had been recovered after

             his invocation of the right to silence, and as a result, elicited the defendant’s statement

             that he made a big mistake. Pena, 897 F.2d at 1081-82. Just as in Pena, the Defendant

             here was presented with evidence of his guilt in that Agent Szabo told him “there’s

             really not a question as to what happened,” and Defendant responded with inculpatory

             statements. Under these circumstances, based on the Eleventh Circuit case law, this

             Court cannot conclude that Defendant’s invocation of the right to silence was

             scrupulously honored. See Christopher, 824 F.2d at 842-46; see also Ramsey, 992 F.2d

             at 305-06 (reasoning that statements made subsequent to invocation of right to remain

             silent were inadmissible because the agents impermissibly interrogated the defendant

             when they attempted to persuade him to make a statement by explaining the length of

             a potential sentence and that he might benefit from cooperation within twenty to thirty

             minutes after his invocation of the right to silence), abrogated on other grounds by Davis

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             v. United States, 512 U.S. 452 (1994); United States v. Gomez, 927 F.2d 1530, 1536

             (11th Cir. 1991) (statements made by officers regarding benefits of cooperation and the

             possible severity of sentence made after invocation of right to counsel were

             impermissible interrogation); United States v. Johnson, 812 F.2d 1329, 1331 (11th Cir.

             1986) (explaining that when FBI agent asked defendant whether he wanted to know

             what would happen to him after defendant invoked his right to counsel, defendant’s

             statements that followed were inadmissible because such statements are often designed

             to inform the accused that cooperation may be beneficial and explaining that “[i]t best

             serves all interests, especially law enforcement, to remain close to the ‘bright line’” and

             that interrogation must cease when an accused in custody requests the presence of a

             lawyer before further interrogation); United States v. Williams, No. 12-60116-CR-RNS,

             2012 WL 4449439, at *1 (S.D. Fla. Sept. 26, 2012) (concluding that where detective

             told defendant “before we really talk to you, we have to explain your rights to you and

             everything,” defendant responded, “I don’t even wanna talk,” and detective inquired,

             “You don’t want to know what’s goin’ on,” defendant’s subsequent statements were

             inadmissible because defendant made an unambiguous assertion of his right to silence

             and further comment by the detective did not scrupulously honor that right).

                   This Court also cannot conclude that Defendant’s responsive statements

             constituted a re-initiation of further conversation by Defendant because the interrogation

             had not ended. A suspect re-initiates the questioning if he evinces a willingness and a

             desire for generalized discussion about the investigation. Muhammad, 196 F. App’x at

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             886, citing Jacobs, 952 F.2d at 1294. For it to be re-initiation, however, the suspect has

             to have reopened the dialogue, not the law enforcement agents. Christoper, 824 F.2d

             at 845. Additionally, re-initiation requires that previous police initiated interrogation

             have ended prior to the suspect’s alleged initiatory remark. See, e.g., Jacobs, 952 F.2d

             at 1293 (noting that in cases where the Government successfully argued the defendant

             re-initiated the interrogation after invoking his rights, at a minimum, one or more hours

             separated a suspect’s invocation of rights and the subsequent interrogation and where

             only one or two hours separated the initial interrogation and the subsequent one, the

             police observed other procedural safeguards of Miranda such as ceasing their

             questioning of the subject or leaving him alone after he indicated that he did not want

             to make a statement); Christopher, 824 F.2d at 845. This case does not involve a

             situation where the conversation was re-initiated by the Defendant without any

             prompting from the law enforcement agents, because the discussion in connection with

             the investigation never ended.

                   Cases cited for the Government for the proposition that the comment by Agent

             Szabo was “subtle compulsion,” and not coercion that runs afoul of Miranda are

             distinguishable. First, in Rhode Island v. Innis, 446 U.S. 291 (1980), an officer arrested

             the defendant, advised him of his Miranda rights, and waited for other officers to arrive.

             Id. at 294. After a Sergeant and a captain both arrived on the scene of the arrest and

             separately gave the defendant his Miranda warnings, the defendant responded that he

             understood his rights and wanted to speak with a lawyer. Id. The Captain then directed

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             that the defendant be placed in a police car that had a wire screen mesh between the

             front and rear seats, be driven to the central police station, and instructed the officers not

             to question the defendant in any way. Id. Three officers entered the vehicle with

             defendant. While en route, one officer initiated a conversation with another about a

             missing sawed-off shotgun used in commission of a robbery for which defendant was

             suspected. Id. at 293-94. The officer told another officer in the defendant’s presence

             that a school for the handicapped children was located nearby and that “god forbid one

             of [handicapped children] might find a weapon with shells and they might hurt

             themselves.” Id. at 294-95. The officer also stated that it would be too bad if a little girl

             “would pick up the gun, maybe kill herself.” Id. at 295. The Supreme Court reasoned

             that the officers’ discussion was not interrogation as contemplated by Miranda because

             not only were no questions posed to the defendant, but also the conversation was

             “nothing more than a dialogue between the two officers to which no response from the

             respondent was invited.” Id. at 302. Moreover, the Supreme Court concluded that it

             could not be said that the officers should have known that their conversation was likely

             to elicit an incriminating response from the respondent because there was nothing in the

             record to suggest that the respondent was susceptible to an appeal to his conscience. Id.

             at 302-03. In contrast to the facts of this case, Agent Szabo directed his comment

             directly to Defendant immediately after Defendant invoked his right to silence.

             Additionally, the comment was directed at the subject of the interrogation and discussed

             the knowledge gained in the investigation.

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                   Furthermore, United States v. Muhammad, 196 F. App’x 882 (11th Cir. 2006) is

             also distinguishable. In that case, a postal inspector advised the defendant, Muhammad,

             of his Miranda rights after taking him into custody and Muhammad responded that he

             understood his rights. Id. at 884. During a subsequent interrogation at the Postal

             Inspector’s office, Muhammad was questioned by Inspector Willis and became very

             agitated when he was accused of robbing the post office. Id. A colleague interrupted

             the interrogation and advised Willis that a handgun found at Muhammad’s home had

             been stolen. Id. Willis then asked Muhammad about the gun and Muhammad expressed

             increased anger at the questions and told Willis that he did not want to talk to Willis

             anymore. Id. Willis ceased the interrogation. Id. Willis then began asking Muhammad

             for his personal biographical information in order to complete paperwork. Id. At that

             point, Muhammad made additional voluntary statements pertaining to the investigation.

             Id. Willis then asked Muhammad, “Do you want to talk about this or not? Because you

             don’t have to.” Id. at 884. Muhammad unequivocally stated that he wanted to continue

             the discussion and made inconsistent and inculpatory statements. Id. In Muhammad,

             the Eleventh Circuit concluded that while Muhammad’s statement that he did not want

             to talk to Willis anymore was a clear invocation of his right to remain silent, the routine,

             biographical questions Willis asked did not constitute a commencement of formal

             interrogation, since an officer’s request for routine information for booking processes

             is not considered an interrogation under Miranda. Id. at 886. In addition, Willis’ query

             to Mohammad about whether he wanted to continue the discussion was not interrogation

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             because it was merely an attempt to clarify conflicting signals Muhammad was sending

             to Willis about invoking his right to remain silent while continuing to talk about the

             robbery. Id. at 886. In contrast, the statement made by Agent Szabo was not in the

             nature of routine booking questions or an attempt to clarify an ambiguous assertion of

             the right to remain silent.

                   Finally, the remaining persuasive authority cited by the Government from the

             Fourth Circuit does not control this case. For instance, in United States v. Payne, 954

             F.2d 199 (4th Cir. 1992), a defendant, after expressing his desire to consult with

             counsel, made incriminating comments to a federal agent in response to the agent’s

             declaratory comment that a gun was found in the defendant’s house. Id. at 200-01. That

             court concluded that “mere declaratory descriptions of incriminating evidence do not

             invariably constitute interrogation for Miranda purposes.” Id. at 202. The Court further

             noted that it may even be in the interest of a defendant to be kept informed about matters

             relating to the charges against him because it might contribute to the intelligent exercise

             of his judgment regarding what course of conduct to follow. Id. at 202.

                   This Court concludes that the Eleventh Circuit has a difference of opinion with

             the Fourth Circuit on this topic. It appears that in the Eleventh Circuit, the fact that the

             Government may be presenting more information that may be helpful to the suspect’s

             decisionmaking process does not exclude the information from potentially being

             considered interrogation.      The Eleventh Circuit has not hesitated to find that

             informational comments made by law enforcement officers subsequent to the

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             defendant’s invocation of the right to silence were interrogation. First, in Pena, supra,

             it was deemed a violation of the defendant’s Miranda rights when law enforcement

             advised the defendant there that marijuana had been recovered after his invocation of

             the right to silence, and as a result, elicited the defendant’s statement that he made a big

             mistake. Pena, 897 F.2d at 1081-82. Similarly, in United States v. Ramsey, 992 F.2d

             301 (11th Cir. 1993), the agents’ discussion of information about the length of a

             potential sentence and the possible benefits of cooperation provided within twenty to

             thirty minutes after the defendant’s invocation of the right to silence was considered

             impermissible interrogation. Id. at 305-06 (also noting that once Miranda warnings have

             been given, if the individual indicates in any manner at any time prior to questioning

             that he wishes to remain silent, the interrogation must cease and any statement taken

             after the person invokes the privilege cannot be other than the product of compulsion,

             subtle or otherwise.”) (citing Miranda, 384 U.S. at 473-74). Therefore, this Court

             concludes that the Eleventh Circuit would evaluate the situation discussed in Payne

             differently than the Fourth Circuit. Because Agent Szabo did not scrupulously honor

             Defendant’s right to remain silent, Defendant’s motion to suppress statements made by

             Defendant to Agent Szabo should be GRANTED.

                                                 CONCLUSION

                   Based on the aforementioned reasons, the undersigned RECOMMENDS that

             Defendant’s Motion to Suppress Statements be GRANTED IN PART AND DENIED

             IN PART. Docket Entry [23].

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                  SO ORDERED, REPORTED AND RECOMMENDED this 25th day of

             October, 2013.

                                              /s/ Linda T. Walker
                                              LINDA T. WALKER
                                              UNITED STATES MAGISTRATE JUDGE




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